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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

United States of America,

            Plaintiff,
v.
                                                    ORDER
                                                    Cr. No. 97‐276(2) (MJD)
Robert George Jefferson,

           Defendant.
___________________________________________________________________

      Jeffrey S. Paulsen, Assistant United States Attorney for Plaintiff.

      Defendant is pro se.

___________________________________________________________________

      This matter is before the Court on Defendant’s motion to recall the

mandate and for an evidentiary hearing pursuant to Rule 60 (b)(2) and (6) of the

Federal Rules of Civil Procedure.

      Defendant requests that the Court recall the Mandate in this case and allow

him to present evidence to the Court in the form of testimony from co‐defendant

Willie Hart consistent with an interview Hart gave to a reporter for the St. Paul

Pioneer Press. Defendant asserts that Hart told the reporter that Defendant did

not tell Hart to firebomb the Coppage home. Hart also told the reporter that he


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wrote a letter to this Court informing the Court that he was being setup, but that

the Court did not respond. Defendant asserts his previous habeas proceedings

were effected by the lack of Hart’s testimony.

      Despite Defendant’s attempt to style this motion as one pursuant to the

Fed. R. Civ. P. 60(b), it is, in fact, a collateral challenge to his conviction. This

Court cannot consider a successive habeas petition unless an appropriate order is

issued by the appropriate court of appeals. 28 U.S.C. § 2244 (b)(3)(A). No such

order has been issued. Therefore, this matter is not appropriately before this

Court.

      IT IS HEREBY ORDERED that Defendant’s Motion Pursuant to Rule

60(b)(2) and (6) [Doc. No. 1549] is DISMISSED.

Date: October 30, 2011

                                         s/ Michael J. Davis
                                         Michael J. Davis
                                         Chief Judge
                                         United States District Court




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